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    8                                     UNITED STATES DISTRICT COURT
    9                                   CENTRAL DISTRICT OF CALIFORNIA
   10   ELI Realty Investments, LLC, a Nevada                 Case No. Civil Action No. 8:22-CV-
        limited liability company; Exclusive                  01195
   11   Lifestyles SoCal, LLC, a California
        limited liability company; Exclusive                  ORDER GRANTING
   12   Lifestyles San Francisco, Inc., a                     STIPULATION OF DISMISSAL
        California corporation; Exclusive
   13   Lifestyles Ohio, LLC, an Ohio limited                 Hon. John W. Holcomb
        liability company; and Exclusive
   14   Lifestyles Las Vegas, LLC, a Nevada                   Counterclaims Filed: January 12, 2023
        limited Liability company,
   15
                                 Plaintiff,
   16
                  v.
   17
        Corcoran Group LLC, a Delaware
   18   limited liability company; DOES 1
        through 10,
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                                 Defendant.
   20
        Corcoran Group LLC
   21
                                 Counterclaimant and
   22                            Third Party Plaintiff,
   23             v.
   24   ELI Realty Investments, LLC; Michael
        Mahon; Pamela Mahon; MRM
   25   Investments, LLC; AIM High Capital
        Partners, LLC; Libertas Funding LLC;
   26   Matek LLC; Exclusive Lifestyles SoCal,
        LLC; Exclusive Lifestyles San Francisco,
   27   Inc.; Exclusive Lifestyles Ohio, LLC;
        Exclusive Lifestyles Las Vegas, LLC;
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        Proposed Order Re Stipulation of Dismissal Re Mahon

                                                                          CIVIL ACTION NO. 8:22-CV-01195
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    1   Exclusive Lifestyles Tahoe, LLC; and
        DOES 1 - 10
    2
                                 Counterclaim and Third
    3                            Party Defendants.
    4   Libertas Funding LLC; Michael Mahon
        Pamela Mahon, and MRM Investments,
    5   LLC,
    6                            Third Party
                                 Counterclaimants,
    7
                  v.
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        Corcoran Group, LLC,
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                                 Third Party
   10                            Counterclaim
                                 Defendant.
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        Proposed Order Re Stipulation of Dismissal Re Mahon

                                                              -2-   CIVIL ACTION NO. 8:22-CV-01195
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    1             Based upon the Stipulation Regarding the Dismissal of All Counterclaims
    2   and Claims of Any Nature Made on Behalf of Michael Mahon, Pamela Mahon, and
    3   MRM Investments, LLC (the “Stipulation of Dismissal”) filed by the parties to the
    4   above-captioned action on January 23, 2024, it is hereby ORDERED as follows:
    5             1.        All counterclaims and claims of any nature made by or on behalf of
    6   Michael Mahon, Pamela Mahon, and MRM Investments, LLC, including those
    7   alleged in Counts One and Two of Third Party Defendants’ Michael Mahon,
    8   Pamela Mahon, and MRM Investments, LLC’s Counterclaims Against Third Party
    9   Counterclaim Defendant Corcoran Group, LLC (ECF No. 102), are DISMISSED
   10   with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.
   11             2.        Each party shall bear its own costs, including attorneys’ fees, other
   12   than as agreed by the parties.
   13             IT IS SO ORDERED.
   14
   15   Dated: January 23, 2024
                                                              HONORABLE JOHN W. HOLCOMB
   16                                                         UNITED STATES DISTRICT JUDGE
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        Proposed Order Re Stipulation of Dismissal Re Mahon

                                                               -3-         CIVIL ACTION NO. 8:22-CV-01195
